Case: 1:23-cv-16601 Document #: 1-1 Filed: 12/08/23 Page 1 of 4 PageID #:9




                EXHIBIT “A”
                       Case: 1:23-cv-16601 Document #: 1-1 Filed: 12/08/23 Page 2 of 4 PageID #:10

                                                                                                         Charge Presented To:           Agency(ies) Charge No(s):
                  Amended CHARGE OF DISCRIMINATION                                                                FEPA
                This form is affected by the Privacy Act of 1974. See enclosed Privacy Act Statement                           440-2023-08679
                                  and other information before completing this form.
                                                                                                              X EEOC
                                                          Illinois Department of Human Rights                                                               and EEOC
                                                                             State or local Agency, if any


Name (indicate Mr., Ms., Mrs., Mx.)                                                                                Home Phone (Incl. Area Code)             Date of Birth

Danielle Jones
Street Address                                                                     City, State and ZIP Code                            Email Address


Street Address                                                                     City, State and ZIP Code                           Email Address
c/o Nathan Volheim, Sulaiman Law Group, 2500 S. Highland Ave., #200, Lombard, IL 60148                                           (employment@sulaimanlaw.com)
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                               No. Employees, Members      Phone No. (Include Area Code)

Arms Security Corporation                                                                                                 15+                    815-282-5373
Street Address                                                                     City, State and ZIP Code                                 Email Address
824 W Superior St Suite 310, Chicago, IL 60642
Name                                                                                                               No. Employees, Members       Phone No. (Include Area Code)



Street Address                                                                     City, State and ZIP Code                                 Email Address


DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                     DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                   Earliest                    Latest
           RACE                COLOR
                                                   SEX                RELIGION                 NATIONAL ORIGIN
                                                                                                                           07/15/2023                  07/23/2023
                RETALIATION                AGE                DISABILITY                  GENETIC INFORMATION

                   OTHER (Specify below.) Sexual Harassment                                                                                CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
I, Danielle Jones (female) was hired at Arms Security Corporation as a security officer in or around July 15, 2023 until I was
unlawfully suspended on or around July 23, 2023 and have not been permitted to return to work, on the basis of my sex (female)
and for opposing sexual harassment.

The following is a non-exhaustive list of incidents of the sex discrimination, sexual harassment and retaliation I was subjected to:

My supervisor Brian has subjected to me to sexual harassment text messages and comments since the very first day of my
training. Therefore, I was subjected to sexual harassment and sex discrimination to the point that I reported it to my other
supervisor.

The Employer not only ignored my complaints of sexual harassment but ultimately suspended and terminated my employment in
retaliation for filing my complaint of sexual harassment. Thus, I have been discriminated against on the basis of my sex (female),
but I also was subjected to sexual harassment and retaliated against in violation of Title VII of the Civil Rights Act of 1964, as
amended and (775ILCS 5/) Illinois Human Rights Act.



I want this charge filed with both the EEOC and the State or local Agency, if any. I NOTARY – When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will cooperate
fully with them in the processing of my charge in accordance with their procedures.
                                                                                     I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.               the best of my knowledge, information and belief.
                                                                                                  SIGNATURE OF COMPLAINANT



                                                                                                  SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
  07 / 28 / 2023                    _____________________________________                         (month, day, year)
 ________________________________

              Date                                Charging Party Signature




                                                                                                              Doc ID: 9c5a0ee680472bab8972c431c0c1f8dad75c05fb
                Case: 1:23-cv-16601 Document #: 1-1 Filed: 12/08/23 Page 3 of 4 PageID #:11

CP Enclosure with EEOC Form 5 (11/09)


PRIVACY ACT STATEMENT: Under the Privacy Act of 1974, Pub. Law 93-579, authority to request personal
data and its uses are:

1. FORM NUMBER/TITLE/DATE. EEOC Form 5, Charge of Discrimination (11/09).

2. AUTHORITY. 42 U.S.C. 2000e-5(b), 29 U.S.C. 211, 29 U.S.C. 626, 42 U.S.C. 12117, 42 U.S.C. 2000ff-6.

3. PRINCIPAL PURPOSES. The purposes of a charge, taken on this form or otherwise reduced to writing
(whether later recorded on this form or not) are, as applicable under the EEOC anti-discrimination statutes
(EEOC statutes), to preserve private suit rights under the EEOC statutes, to invoke the EEOC's jurisdiction
and, where dual-filing or referral arrangements exist, to begin state or local proceedings.

4. ROUTINE USES. This form is used to provide facts that may establish the existence of matters covered by
the EEOC statutes (and as applicable, other federal, state or local laws). Information given will be used by
staff to guide its mediation and investigation efforts and, as applicable, to determine, conciliate and litigate
claims of unlawful discrimination. This form may be presented to or disclosed to other federal, state or local
agencies as appropriate or necessary in carrying out EEOC's functions. A copy of this charge will ordinarily
be sent to the respondent organization against which the charge is made.

5. WHETHER DISCLOSURE IS MANDATORY; EFFECT OF NOT GIVING INFORMATION. Charges must
be reduced to writing and should identify the charging party and respondent and the actions or policies
complained of. Without a written charge, EEOC will ordinarily not act on the complaint. Charges under Title
VII, ADA, or GINA must be sworn to or affirmed (either by using this form or by presenting a notarized
statement or unsworn declaration under penalty of perjury); charges under the ADEA should ordinarily be
signed. Charges may be clarified or amplified later by amendment. It is not mandatory that this form be used
to make a charge.

                          NOTICE OF RIGHT TO REQUEST SUBSTANTIAL WEIGHT REVIEW

Charges filed at a state or local Fair Employment Practices Agency (FEPA) that dual-files charges with EEOC
will ordinarily be handled first by the FEPA. Some charges filed at EEOC may also be first handled by a FEPA
under worksharing agreements. You will be told which agency will handle your charge. When the FEPA is the
first to handle the charge, it will notify you of its final resolution of the matter. Then, if you wish EEOC to give
Substantial Weight Review to the FEPA's final findings, you must ask us in writing to do so within 15 days of
your receipt of its findings. Otherwise, we will ordinarily adopt the FEPA's finding and close our file on the
charge.

                                        NOTICE OF NON-RETALIATION REQUIREMENTS

Please notify EEOC or the state or local agency where you filed your charge if retaliation is taken against
you or others who oppose discrimination or cooperate in any investigation or lawsuit concerning this charge.
Under Section 704(a) of Title VII, Section 4(d) of the ADEA, and Section 503(a) of the ADA and Section 207(f)
of GINA, it is unlawful for an employer to discriminate against present or former employees or job applicants,
for an employment agency to discriminate against anyone, or for a union to discriminate against its members
or membership applicants, because they have opposed any practice made unlawful by the statutes, or
because they have made a charge, testified, assisted, or participated in any manner in an investigation,
proceeding, or hearing under the laws. The Equal Pay Act has similar provisions and Section 503(b) of the
ADA prohibits coercion, intimidation, threats or interference with anyone for exercising or enjoying, or aiding
or encouraging others in their exercise or enjoyment of, rights under the Act.




                                                                        Doc ID: 9c5a0ee680472bab8972c431c0c1f8dad75c05fb
Case: 1:23-cv-16601 Document #: 1-1 Filed: 12/08/23 Page 4 of 4 PageID #:12




                           Updated EEOC Charge
                           SIGNATURE needed ...anielle Jones.pdf
                           9c5a0ee680472bab8972c431c0c1f8dad75c05fb
                           MM / DD / YYYY
                             Signed




       07 / 28 / 2023      Sent for signature to Danielle Jones
       15:31:18 UTC        (diamondburns2018@gmail.com) from krevich@sulaimanlaw.com
                           IP: 172.119.195.248




       07 / 28 / 2023      Viewed by Danielle Jones (diamondburns2018@gmail.com)
       15:32:43 UTC        IP: 172.59.200.73




       07 / 28 / 2023      Signed by Danielle Jones (diamondburns2018@gmail.com)
       15:33:46 UTC        IP: 172.59.201.73




       07 / 28 / 2023      The document has been completed.
       15:33:46 UTC
